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               EXHIBIT A
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                                              August 14, 2018




U.S. Fish and Wildlife Service FOIA Officer
fwhq_foia@fws.org

Re: Denial of petition to delist the Southwestern willow flycatcher,
    82 Fed. Reg. 61,725 (Dec. 29, 2017)

Dear Sir or Madam:

Pacific Legal Foundation (PLF) seeks information relating to the Service’s denial of a
petition to delist the Southwestern willow flycatcher from the Endangered Species Act.
Pursuant to the Freedom of Information Act, 5 U.S.C. § 552, PLF hereby requests the
disclosure of all documents relied on, directly or indirectly, by the Service as part of
its decision to deny the flycatcher delisting petition, 82 Fed. Reg. 61,725 (Dec. 29, 2017),
including all written communications and memoranda.

If the documents sought are stored electronically, please provide the information on a
disk readable by an IBM-compatible personal computer and identify the program used,
or send the information as an email attachment to dschiff@pacificlegal.org. If the
information sought is not stored electronically, please provide hard copies. Copies can
be mailed to Pacific Legal Foundation, 930 “G” Street, Sacramento, California 95814.

If you determine that you cannot disclose any of the requested information in its
entirety, PLF requests that you release any and all reasonably redacted or segregated
material that may be separated and released. For any documents, or portions thereof,
that you determine to be exempt from disclosure, PLF requests that you exercise your
discretion to disclose the materials, absent a finding that a reasonable basis exists to
invoke an exemption.

Should you withhold disclosure of documents within the scope of this request, PLF
asks that you provide an index that (1) identifies each and every document that is
withheld; (2) states with specificity that statutory exemption claimed for each
document; and (3) explains how disclosure of a particular document would damage
the interest protected by a particular exemption.
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PLF is prepared to pay up to $100 for the requested documents. If that amount is not
likely to be sufficient to ensure disclosure of all requested documents, please contact
me so that PLF may determine whether the scope of the request can be narrowed or
whether an additional authorization may be warranted.

Thank you for your immediate attention to this matter. If you have any questions,
please contact me by telephone, (916) 419-7111, or by email, dschiff@pacificlegal.org.

                                              Sincerely,




                                              Damien M. Schiff
                                              Attorney
